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                                                      UNITED STATES DISTRICT COURT
                                                      SOUTHERN DISTRICT OF FLORIDA

                                                      CASE NO.: 1:18-cv-24100-MGC
    DIGNA VINAS,

           Plaintiff,
    vs.

    THE INDEPENDENT ORDER OF
    FORESTERS,

          Defendant.
    ______________________________/

                             PLAINTIFF’S EXPERT DISCLOSURE

           Plaintiff, Digna Vinas, pursuant to this Court’s Amended Order Setting Civil Trial
    Date and Pretrial Deadlines dated July 23, 2020 (D.E. 92) and Fed. R. Civ. P. 26(a)(2)(B),
    hereby serves its Expert Disclosure:

    1.     Scott Stein
           Risk Management Partners, Inc.
           5550 Glades Road, Suite 509
           Boca Raton, FL 33431

    a.    Complete Statement of All Opinions the Witness Will Express and the Basis and
    reasons for them.

           The complete statement of all the opinions Mr. Stein will express as well as the basis
    and reasons for those opinions are contained within the Report served contemporaneously
    with this Disclosure.

    b.     The Facts or Data Considered by the Witness in Forming Them.

           The facts and data considered by Mr. Stein in forming his opinions are contained
    within the Report served contemporaneously with this Disclosure.

    c.     Any Exhibits That Will be Used to Summarize or Support Them.

            Any exhibits to be used by Mr. Stein to summarize or support his opinions are listed
    within the Report served contemporaneously with this Disclosure.

    d.    The Witness’s Qualifications, Including a List of All Publications Authored in the
    Previous 10 Years.
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           Mr. Stein’s qualifications, as listed in his CV are contained within the Report served
    contemporaneously with this Disclosure. Mr. Stein has not authored any publications in
    the previous ten years.

    e.     A List of all Other Cases in Which, During the Previous 4 Years, the Witness
    Testified as an Expert at Trial or by Deposition.

            A list of all other cases in which, during the previous four years, Mr. Stein has
    testified as an expert at trial or by deposition, are contained within the Report served
    contemporaneously with this Disclosure.

    f.    Statement of the Compensation to be Paid for the Study and Testimony in the
    Case.

            Mr. Stein’s hourly rate for services performed is $425.00 per hour. That fee is for
    review of material, writing of reports, testimony at trial, and at depositions. Mr. Stein’s
    travel time is billed at $212.50 per hour, not to exceed 8 hours per day. Travel expenses are
    billed at cost.

                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY a true and correct copy of the foregoing has been
    electronically filed with the Court and a copy has been served on November 11, 2020 on:
    Kristina B. Pett, Esq. Kristina.pett@mhllp.com and Danielle Shure, Esq.,
    Danielle.shure@mhllp.com, McDowell, Hetherington, LLP, 2101 N.W. Corporate Blvd.,
    Suite 316, Boca Raton, FL 33431.
                                                      KRAMER, GREEN, ZUCKERMAN,
                                                      GREENE & BUCHSBAUM, P.A.
                                                      Co-Counsel for Plaintiff
                                                      4000 Hollywood Blvd., Suite 485-S
                                                      Hollywood, FL 33021
                                                      (954) 966-2112 – phone
                                                      (954) 981-1605 - fax

                                                      By:    ____/s/ Craig M. Greene
                                                             Craig M. Greene, Esq.
                                                             Fla. Bar No. 618421
                                                             cgreene@kramergreen.com

                                                      and




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                                             Adrian Neiman Arkin, Esq.
                                             MINTZ, TRUPPMAN, P.A.
                                             Co-Counsel for Plaintiff
                                             1700 Sans Souci Boulevard
                                             North Miami, FL 33181
                                             (305) 893-5506 – phone
                                             adrianarkin@mintztruppman.com




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   SCOTT STEIN, A.R.M.

   sstein@riskmpinc.com/riskmpinc.com

   RISK MANAGEMENT PARTNERS, INC.

   PROPERTY CASUALTY INSURANCE PLACEMENT / RISK MANAGEMENT EXPERT
   WITNESS LITIGATION SUPPORT:

   Boca Office:
   5550 Glades Rd
   Suite 509
   Boca Raton, FL 33431 O: (561) 495-7900
   C: (305) 298-7652

   EXPERIENCE

   Expert Witness Areas of Expertise & Litigation Experience:

   Agent, Agency & Broker Procedures and Requisite Standards of Care. Insurance Agent and
   Broker Liability, Agency Errors & Omissions. Property and General Liability insurance, Auto
   and Workers Comp. Insurance. Professional Liability & Crime insurance. Directors and Officers
   insurance, Insurance Coverage Disputes, Broker Procurement Procedures, Wholesale Brokers &
   MGA’s. Risk Management Analysis for Insured’s, Insurer Claims Handling, all areas of Property
   Casualty insurance, Failure to Procure, Agent & Agency Training Procedures & Standards of
   Care, Insure to Value Disputes and Insurance Policy Language Assessment, Bad Faith Claims.

   INSURANCE & RISK MANAGEMENT PLACEMENT/EXPERT WITNESS LITIGATION
   SUPPORT SVS:
   President | Risk Management Partners, INC.

   February/2000 – Present
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   Founded retail insurance broker in February of 2000, for placement of all lines of property and
   casualty covers. Specific expertise in Property, General Liability, Product Liability, Workers
   Comp., professional liability, (D&O and E&O), liquor liability, crime and automobile insurance.
   Member: Professional Liability Underwriting Society (PLUS): 1994 – Present.

   In 2004, I began to work as an Expert Witness in insurance and risk management in all areas of
   property casualty insurance, for both Plaintiff and Defense counsel. As of mid-2020, I have been
   engaged in excess of 200 cases as an expert witness across the United States, in both Federal
   and State court.

   Account Executive | Summit Global Partners

   1998 – 2000

   Coordinated national sales and marketing of proprietary infringement insurance program
   underwritten by syndicates at Lloyds of London. Responsibilities included, direct client sales,
   development of national sales team, product distribution, marketing and public relations
   activities.

   Marketing responsibilities included coordination of advertising, public relations, brochures and
   sales literature. Maintained and serviced a large book of property casualty insurance clients in all
   Facets of Property casualty insurance.

   Account Executive | Arthur J. Gallagher & Co.

   1993 – 1998, Miami, FL

   Producer in commercial accounts division of multinational risk management organization
   responsible for sales, marketing and retention of commercial property casualty client insurance
   programs. Specialization in property, general liability, workers compensation, product liability,
   and all aspects of professional liability to include all D&O and E&O policies, for both public and
   privately held companies. Multiple top production awards during all years at the organization.

   EDUCATION

   B.B.A., Finance | Washington, D.C

   May of 1984

   George Washington University School of Business

   Associate in Risk Management (A.R.M.) | Malvern, PA

   May of 1997

   Insurance Institute of America
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   Admitted and Qualified: Forensic Expert Witness Association (FEWA)
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                                    SCOTT STEIN A.R.M.
                                     Dated: 11/09/2020


   Cases in Which I have Testified or Been Deposed in the Past Four Years:

       l. United States District Court, Southern District of Florida, Case No. 08-CV-80254, Tiara
       Condominium Association, Plaintiff vs. Marsh & McClennan Companies, Marsh, Inc.,
       Marsh USA, Inc., Defendants. I was retained by Defendant. I was deposed and prepared an
       extensive Expert Witness Report. Attorneys were Wilkie Farr & Gallagher, LLP, NYC. I
       prepared a second expert witness report in 2014 and was re-deposed in late 2014.
      2. District Court, Southern District of Florida, Case No. 11-61577-CIV-Altonga/Simonton,
        Ocean's Il Bar & Grill, Inc., Plaintiff vs. Indemnity Insurance Corporation RRG,
        Defendants. I was retained by attorney Joseph Dawson for Ocean's 11 Bar & Grill, Inc. and
        was deposed.
      3.District Court, Southern District of Florida, Case No. 9:11-80320-WilIiams/Hopkins,
      Sandra K. Trujillo and Sam Anne Trujillo, Plaintiffs vs. USAA Casualty Insurance
      Company, Defendant. I was retained as an expert by law firm of Shutts & Bowen LLP for
      Defendant. I was deposed.
      4. District Court, Southern District of Florida, Case No.: 1 1 CV-60883 MGC, Beach Bars
           USA, LLC, et al. Plaintiffs vs. Indemnity Insurance Corporation of DC, Defendant. I was
           retained by attorney John D. Kallen, P.A. for Beach Bars, USA, LLC. I was deposed.
      5. State of New Mexico, County of Santa Fe, First Judicial District Court, Case No: D-
           0101CV-200501297, Suzanne Guest and the Guest Law Firm, P.C., Plaintiffs vs. Allstate
           Insurance Company, Defendant. I was retained by attorney Suzanne Guest for Plaintiffs. I
           was deposed.
      6. Circuit Court of the 17th Judicial Circuit in and for Broward County, Florida, Case No.:
         09037544(25), Ventnor "B" Condominium Association, Inc., Plaintiff v. The Plastridge
         Agency, Inc, Condominium Owners Organization of Century Village, CVEMMC Master
         Management Company, Inc, Defendants. I was retained by the Garrity/Weiss P.A. Law
         Firm on behalf of Plaintiff. I was deposed.
      7. District Court, Middle District of Florida, Case No. 6:12-CV 914-ORL-28GJK,
         Trovillion Construction & Development, Inc., Plaintiff v. Mid-Continent Casualty
         Company, Casa Jardin Condominium Association, Inc. I was retained by counsel for
         Plaintiff, and I was deposed.
      8. District court, Middle District of Florida, case No. 3:12-CV-121-J-34MCR, Maryland Casualty
         Insurance Company, Plaintiff v. Shreejee Ni Pedhi, Inc. d/b/ a Bombay Liquors, a Florida
         Corporation, Terry L. Case and Elizabeth R. Case, Personal Representatives of the Estate
         of Catherine E. Case, Defendant, Counter-Plaintiff, Third Party Plaintiff v. Labrato
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         Insurance and Bonding, Inc., Third Party Defendant. I was retained by counsel for
         Bombay Liquors. I was deposed and wrote an Expert Witness Report.
      9. District Court, Northern District of Illinois, Case No. 1:12-cv-03481, Western
         Consolidated Premium Properties, Inc., M.G. Skinner & Associates Insurance Agency v.
         Norman Spencer Agency, Inc., JRSO LLC, and Michael Ward. I was retained by counsel
         for Plaintiffs and was deposed.
      10. Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida,
          Case No. 12-16117-CA-15, Danna Can v. The South Florida Group, LLC, and Robert
          Poleo. I was retained by counsel for Plaintiff and Deposed.
      11. In the United Stated District Court of Colorado, case No. 14-cv-02382-CNL\-NYW,
          valley Equipment Leasing, Inc., Plaintiff v. McGriff Seibels and Williams of Oregon,
          Inc., and Ryan Erickson, Defendants. I was retained by counsel for Plaintiff and was
          deposed.
      12. United States District Court, Southern District of Florida, West Palm Beach Division,
         Case No.: 9:15-cv-80072-DNIM, Bow Down, Inc., Plaintiff v. Mount Vernon Fire
         Insurance Company, Defendant. I was engaged by counsel for Defendant, prepared and
         Expert Witness Report, and was deposed.
      13. Circuit Court Of 15 th Judicial Circuit, Palm Beach County, Florida,
          CaseNo.:50201012CA019098XXXXMBAO, Meadows on The Green Condominium
         Association, Inc., Plaintiffs, v. C.A.S. Realty Management, LLC f/k/a C.A.S. Realty, LLC,
         Patrick Garcia, and Apogee Association Services, LLC, Damian McFadden and Wells
         Fargo Insurance Services USA, Inc., Defendants. I was engaged by counsel for Damian
         McFadden and Wells Fargo Insurance Services USA, Inc. I was deposed.
       14. United States District Court for The District Of Connecticut, Case No.: 3:15-CV-00549,
       Northeast Builders Supply and Home Centers, LLC, Plaintiff v. Member Insurance Agency,
       Inc., and Pennsylvania Lumbermen’s Mutual Insurance Company, Plaintiffs. I was engaged
       by Plaintiff and was deposed.
       15.. State Court of Oregon, McFadden Lane Inc., Plaintiff v. Leonard Adams Insurance,
       Inc., John O’Connor, Defendants. I was engaged by Plaintiff in April 2017 and testified at
       trial in Oregon in June, 2017.
       16. In the Circuit Court of the 17th Judicial circuit in and for Broward County, Florida. Case
       N0.: CASE 15-004377 DIV 09, L&N Holdings, LLC, Plaintiff v. KS Insurance
       Corporation, Alexander Greep & Tate Insurance and Ronald Allen Green. I was hired by
       plaintiff and testified at deposition and trial in 2018.
       17. In the circuit Court of Maryland for Baltimore County, Case Number: 03-C-18-007884
       CN, Renewal by Andersen, LLC, Plaintiffs v. Jon Christiana, et al. I was hired by Plaintiff
       and was deposed and testified at trial in May, 2018.



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       18. Case No. 3:15-CV-225-CRS, In the United States District Court, Western District of
       Kentucky, Louisville Division, Martin & Bayley, Inc., Plaintiff v. O’Bryan, Brown, Toner,
       et al. I was engaged by counsel for Defendant, and was deposed.
       19. In the State Court of Fulton County, State of Georgia, Case No. 16-EV-002956,
       Enterprise Leasing Company of Georgia, LLC, Plaintiff, v. Titlemax of Georgia, Inc.,
       Defendant. I was deposed, and the case settled.




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